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7

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9
                             UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11

12

13
     ALPHA GRP, INC. d/b/a RED BULL          Case No.
14   GLOBAL RALLYCROSS, a Delaware
     Corporation,
15                                           COMPLAINT for:
                Plaintiff,
16                                             1.   Breach of Oral Contract;
                vs.                            2.   Promissory Estoppel
17                                             3.   Fraud; and
     SUBARU OF AMERICA, INC., a New            4.   Tortious Interference.
18   Jersey Corporation,
                                             DEMAND FOR JURY TRIAL
19              Defendants.
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                                        COMPLAINT
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1          Plaintiff Alpha GRP, Inc. d/b/a Red Bull Global Rallycross (“Red Bull GRC”)
2    files this Complaint, including a demand for jury trial, against Defendant in this action
3    Subaru of America, Inc. (“Subaru”) and states as follows:
4

5                                       INTRODUCTION
6          1.     This action seeks redress for Subaru’s wrongful conduct committed in
7    connection with its breach of a binding agreement to participate in a rallycross car
8    racing series to take place in 2018 and active interference with others’ participation in
9    that series. Subaru’s misconduct in breaching its own commitments, intentionally
10   misleading and deceiving Red Bull GRC regarding those commitments, and
11   intentionally inducing others to abandon the series in favor of a different series have
12   damaged Red Bull GRC in an amount to be proven at trial, but well in excess of
13   $75,000.
14                                        THE PARTIES
15         2.     Plaintiff Red Bull GRC is a Delaware Corporation with its principal place
16   of business in Pacific Palisades, California and was as at all times relevant to this
17   Complaint a citizen of the state of California.
18         3.     Upon information and belief, Defendant Subaru is a New Jersey
19   corporation with its principal place of business in the State of New Jersey.
20         4.     Red Bull GRC is informed and believes, and upon such basis alleges, that
21   at all times herein mentioned, each Defendant herein was an agent, servant, employee,
22   co-conspirator, partner, joint venturer, wholly owned and controlled subsidiary and/or
23   alter ego of each of the remaining Defendants, and was at all times acting within the
24   course and scope of said agency, service, employment, conspiracy, partnership and/or
25   joint venture.
26         5.     Defendants, and each of them, aided and abetted, encouraged and rendered
27   substantial assistance in accomplishing the wrongful conduct and their wrongful goals
28   and other wrongdoing complained of herein. In taking action, as particularized herein,
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1    to aid and abet and substantially assist the commission of these wrongful acts and other
2    wrongdoings complained of, each of the Defendants acted with an awareness of its
3    primary wrongdoing and realized that its conduct would substantially assist the
4    accomplishment of the wrongful conduct, wrongful goals, and wrongdoing.
5

6                                   JURISDICTION AND VENUE
7           6.        Pursuant to 28 U.S.C. § 1332, this Court has original jurisdiction over Red
8    Bull GRC’s claims based on the parties’ diversity of citizenship and the fact that
9    damages are alleged to be in excess of $75,000.
10          7.        Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391
11   because a substantial part of the events or omissions giving rise to the claim occurred in
12   the Central District and because Subaru is subject to the Court’s personal jurisdiction in
13   this District.
14

15                 FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
16          8.        The Red Bull GRC organized rallycross race series is a series of individual
17   rallycross car races that take place on an annual basis involving multiple individual
18   races held in different cities across the U.S. The series occurs over the course of a
19   single calendar year with the individual races typically being held in the latter half of
20   the year.
21          9.        The 2018 schedule, for example, has been announced with the races
22   scheduled to begin in June of 2018 and conclude in October of 2018.
23          10.       Races in 2018 have been announced for Buffalo, New York, New Orleans,
24   Louisiana, Los Angeles, California, Indianapolis, Indiana, Atlantic City, New Jersey,
25   Seattle, Washington, and Lydden Hill, United Kingdom. Often more than one race day
26   is scheduled for each city over multiple days.
27          11.       The Red Bull GRC series first premiered in 2011 and has taken place every
28   year since.
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1              12.   Through Red Bull GRC’s partnerships, individual Red Bull GRC series
2    races are broadcast live on the NBC Network and re-broadcast live on the NBC Sports
3    Network.
4              13.   The Red Bull GRC series ecosystem has a social reach of approximately
5    300 million people worldwide.
6              14.   Since its inception, Red Bull GRC has invested nearly $50 million in the
7    series.
8              15.   In order to field an individual race series in a given calendar year, Red Bull
9    GRC engages with, and relies upon, car manufacturers who serve as Official
10   Manufacturer Partners of the series.
11             16.   Official Manufacturer Partners provide the cars that race in the Red Bull
12   GRC series to the individual teams that are sponsored by the Partners. In prior years,
13   Ford, Volkswagen, Subaru, and Honda have served as Official Manufacturer Partners of
14   the series providing vehicles for participation in the individual races and series.
15             17.   Often, the entirety of the terms of the contracts between Red Bull GRC and
16   Official Manufacturer Partners are not reduced to formal writing.
17             18.   The purpose of these agreements between Red Bull GRC and Official
18   Manufacturer Partners is to allow Official Manufacturer Partners to field specific racing
19   teams of competitors/drivers to participate in the series and individual races.
20             19.   Among other benefits, Official Manufacturer Partners benefit from the
21   publicity and visibility that comes with having their vehicles raced in the Red Bull GRC
22   series and the approximately 300 million people worldwide who are part of the Red
23   Bull GRC series ecosystem.
24             20.   Red Bull GRC cars roll out of the factory as production models, but
25   receive significant improvements to chassis, engine, and safety features to bring them
26   up to racing specifications.
27             21.   Red Bull GRC competitors include some of the most talented drivers in the
28   world. Many competitors have switched to rallycross after enjoying success in other
                                                  -3-
                                               COMPLAINT
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1    racing series from Formula 1 to NASCAR. Others have had legendary careers in other
2    action sports, from motocross to BMX to skateboarding.
3            22.   Red Bull GRC teams have experience competing in the World Rally
4    Championship, IndyCar, and NASCAR Sprint Cup.
5            23.   A Red Bull GRC team is typically led by an engineer, who makes
6    decisions on how to set up the car provided by the Official Manufacturer Partner and
7    race strategy, and is comprised of a handful of mechanics that perform maintenance
8    work on the vehicle.
9            24.   Teams in the Red Bull GRC have included the Subaru Rally Team USA,
10   Andretti Autosport, Olbergs MSE, SH Rallycross, and Bryan Herta Rallysport.
11           25.   Subaru has participated in the Red Bull GRC series since 2011 and has
12   been one of the more popular teams in the Red Bull GRC series over the years.
13           26.   Subaru’s factory-backed team took its first rallycross victory in Seattle in
14   2014.
15           27.   Subaru fielded the Subaru Rally Team, USA during the 2017 series as well
16   as in prior years. This team included drivers Chris Atkinson and Patrik Sandell.
17           28.   Another Official Manufacturer Partner of the Red Bull GRC series has
18   consistently been the Volkswagen Group of America.
19           29.   Volkswagen Group of America has participated in the Red Bull GRC
20   series since at least 2014.
21           30.   Volkswagen Group of America raced through the team Volkswagen
22   Andretti Rallycross during the 2017 series as well as in years past.
23           31.   Subaru has been aware of Volkswagen Group of America’s consistent
24   participation having raced against the Volkswagen Andretti Rallycross team through
25   multiple seasons dating back as far as the 2014 season.
26           32.   The 2017 Red Bull GRC series was a successful one for both Subaru and
27   for Red Bull GRC.
28

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1            33.   The 2017 series resulted in multiple podium (i.e., top three) finishes in
2    individual races for Subaru drivers Chris Atkinson and Patrik Sandell.
3            34.   At the close of the 2017 season, by all indications and based on its
4    statements and conduct, Subaru was pleased both with the series and its participation.
5    Subaru represented to Red Bull GRC that it would continue to participate in the 2018
6    season and beyond.
7            35.   The final race of the 2017 season took place in Los Angeles on October 14,
8    2017.
9            36.   In connection with this final race, an event was held in Los Angeles just
10   after the race and was attended by representatives from Subaru including Rob Weir, the
11   Subaru motorsports manager.
12           37.   During this event, on behalf of Subaru, Rob Weir made a firm and definite
13   oral commitment to Red Bull GRC that Subaru would participate in the 2018 series.
14           38.   This commitment was repeated in a subsequent press release in October
15   2017 that originated from or on behalf of Subaru. In it, Subaru Rally Team USA,
16   believed to be an agent of Subaru, issued a press release stating: “Factory Subaru
17   drivers Chris Atkinson and Patrik Sandell will return with Subaru Rally Team USA for
18   the 2018 Red Bull Global Rallycross season.”
19           39.   Subaru representative Rob Weir is also quoted in the October 2017 release
20   as stating:
21
             Subaru is very proud of Patrik, Chris and the entire team at Vermont SportsCar
22           [who is believed to manage Subaru Rally Team USA] for consistently putting us
23           on the podium this year,” stated Subaru motorsports manager Rob Weir. “With
             high confidence in our future rallycross development strategy, our goal will be
24           the manufacturer’s title in 2018.”
25           40.   Thereafter, in early January   a meeting was requested by Subaru and held
26   in Detroit on January 16th with Red Bull GRC and other Official Manufacturing
27   Partners and teams.
28

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1          41.     Based on the actions and statements of Subaru and others in attendance,
2    the participants came out of this meeting with an agreed-upon list of items that each
3    party would agree to perform moving forward.
4          42.     More specifically, in connection with this meeting and the discussions
5    prior and that followed, Subaru agreed to run a third car in 2018. This was an increase
6    from the two cars Subaru previously ran in the 2017 series and series prior.
7          43.     Thus, as of January 2018, in exchange for a lower price for participation in
8    the 2018 series, Subaru had committed itself to run a third car in the 2018 Red Bull
9    GRC series.
10         44.     Red Bull GRC took a number of actions in reliance on Subaru’s firm
11   commitments to participate in the 2018 series, including, but not limited to, the
12   following:
13                 a. announcing the 2018 racing and broadcast schedule;
14                 b. making commitments to racing venues that races would take place at
15                    those venues;
16                 c. making a multimillion dollar commitment to a TV production company
17                    related to broadcasting the series;
18                 d. making commitments to NBC for approximately 17 hours of broadcast
19                    time;
20                 e. signing a long term agreement with Turner Sports to bring 50+ hours of
21                    live content to a global audience on their forthcoming digital platform;
22                 f. signing a Red Bull sponsorship renewal for the 2018 season;
23                 g. signing and announcing a new single seat racing class in partnership
24                    with Polaris;
25                 h. signing and announcing a new tire sponsor, Continental Tires; and
26                 i. signing and announcing a new lubricant sponsor, Total Lubricants.
27         45.     Were it not for Subaru’s firm commitments to participate in 2018, Red
28   Bull GRC would not in turn have acted as it did with regards to these commitments.
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1          46.    Based on Red Bull GRC’s communication with Subaru, Subaru either
2    understood or should have understood and been aware that, Red Bull GRC would be
3    taking these actions in reliance on its commitment.
4          47.    However, in spite of Subaru’s stated and binding commitment to
5    participate in the 2018 series, upon information and belief, as of late December 2017,
6    Rob Weir of Subaru contacted an unnamed third-party entertainment, sports, and event
7    management company (“Co-conspirator Co.”), and falsely stated to them that Red Bull
8    GRC was not going to be running a racing series in 2018.
9          48.    Thereafter, also in late January of 2018, if not sooner, Rob Weir of Subaru
10   hosted a different meeting in Detroit inviting many of GRC’s teams, drivers, sponsors,
11   and other car makers such as Volkswagen Group of America to participate.
12         49.    Red Bull GRC was not invited to this meeting in Detroit.
13         50.    Upon information and belief, the purpose of this meeting was to induce
14   Co-conspirator Co., to launch a race series in the U.S.
15         51.    Further, upon information and belief, the purpose of the second Detroit
16   meeting instituted by Subaru was to induce or otherwise cause the parties to this
17   meeting, such as Volkswagen Group of America, to abandon the Red Bull GRC series
18   immediately and participate instead in the Co-conspirator Co. series.
19         52.    Around this same time, Red Bull GRC held a private conference call
20   between itself and Official Manufacturing Partners and race teams regarding the 2018
21   season.
22         53.    During this call, confidential, proprietary information was disclosed
23   regarding, among other things, Red Bull GRC’s plans for the 2018 series and the means
24   by which it intended to carry out its plans for the 2018 series.
25         54.    It is common practice in connection with the organization of racing series
26   such as the Red Bull GRC series that the information shared by event organizers with
27   manufacturer partners and racing teams regarding plans for upcoming series and races is
28   to be kept confidential.
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1           55.   Nevertheless, upon information and belief, a representative from Subaru
2    surreptitiously shared with representatives from Co-conspirator Co. the call-in
3    information for this confidential conference call so that Co-conspirator Co. could
4    secretly gain knowledge regarding Red Bull GRC’s business plans.
5           56.   An executive of Co-conspirator Co. subsequently surreptitiously dialed
6    into the call, unbeknownst to Red Bull GRC, for the purpose of obtaining Red Bull
7    GRC’s proprietary and confidential information for use in competing against Red Bull
8    GRC.
9           57.   Co-conspirator Co. thus improperly and illegally obtained knowledge of
10   Red Bull GRC’s proprietary and confidential business plans for the 2018 series, along
11   with other proprietary and confidential information. The information misappropriated
12   gave Co-conspirator Co. and, on information and belief Subaru, an unfair tactical and
13   competitive advantage and advance knowledge of how Red Bull GRC intended to
14   organize and promote the 2018 series.
15          58.   In late January 2018, and in spite of its prior firm commitment to
16   participate in the 2018 series and race three cars, Subaru informed Red Bull GRC that it
17   would not be racing any cars in the 2018 series.
18          59.   Around the same time, Volkswagen Group of America informed Red Bull
19   GRC that it also would not participate in the 2018 series.
20          60.   Subaru and Volkswagen Group of America’s withdrawal from the 2018
21   series, at this late date, and in spite of Subaru’s promises to participate, pose an
22   existential threat to the 2018 Red Bull GRC series.
23          61.   To compound Red Bull GRC’s damage, on or about March 14, 2018, the
24   launch of Co-Conspirator Co.’s series of races for the 2018 season was announced.
25          62.   Upon information and belief, this new series was the object of the meeting
26   that took place between Subaru and many GRC teams, drivers, and sponsors, including
27   Volkswagen Group of America, but excluded Red Bull GRC.
28

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 1         63.    Both Subaru and Volkswagen Group of America were announced as
 2   fielding racing teams in the 2018 Co-conspirator Co. series, which has been formed
 3   utilizing information improperly obtained by Co-conspirator Co. and Subaru.
 4         64.    Upon information and belief, and in conjunction with Co-conspirator Co.’s
 5   announcement of its own race series that includes the participation of Volkswagen
 6   Group of America, Subaru successfully and intentionally induced Volkswagen Group of
 7   America to abandon the 2018 Red Bull GRC series to Red Bull GRC’s detriment.
 8         65.    Red Bull GRC has thus been damaged by Subaru’s conduct in numerous
 9   ways including, but not limited to: (1) the loss of Subaru’s commitment to race three
10   cars in the 2018 series and the consideration Subaru agreed to pay in connection with
11   that agreement; (2) the loss of Volkswagen Group of America’s participation in the
12   2018 series and the consideration Volkswagen would have paid to participate in the
13   2018 series; (3) the organization and announcement of the Co-conspirator Co. race
14   series, which in light of Subaru’s and Volkswagen Group of America’s participation
15   will diminish the value of the 2018 Red Bull GRC series; and (4) losses associated with
16   undertaking commitments and agreements regarding the 2018 series that it would either
17   not have undertaken, or would have caused it to act differently, had it known of
18   Subaru’s deceptive conduct. Red Bull GRC has been damaged in a specific amount to
19   be proven at trial, but which is well in excess of $75,000.
20

21                       COUNT I: BREACH OF ORAL CONTRACT
22         66.    Red Bull GRC re-alleges and incorporates herein by reference each and
23   every allegation and statement contained in paragraphs 1 through 65 inclusive.
24         67.    Red Bull GRC and Subaru had come to a binding oral contract requiring
25   Subaru to fully participate in the 2018 Red Bull GRC series.
26         68.    Subaru had orally agreed to run three cars in the 2018 series in exchange
27   for a reduction in the normal rate for three cars to participate in the series.
28

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 1           69.   Subaru has breached this agreement by informing Red Bull GRC that it
 2   would not be running any cars in the 2018 Red Bull GRC series.
 3           70.   Red Bull GRC has been damaged in an amount to be proven at trial by
 4   Subaru’s breach of this oral agreement but in a total amount that exceeds $75.000.
 5

 6                            COUNT II: PROMISSORY ESTOPPEL
 7           71.   Red Bull GRC re-alleges and incorporates herein by reference each and
 8   every allegation and statement contained in paragraphs 1 through 65 inclusive.
 9           72.   Subaru promised to Red Bull GRC that it would participate in the Red Bull
10   GRC 2018 series and run three cars in the 2018 series.
11           73.   As alleged, Subaru made these representations starting in October of 2017
12   and through January of 2018, by and through, among others, its representative Rob
13   Weir.
14           74.   Among other locations and times, Subaru made these representations in
15   Los Angeles, California in October 2017 shortly after the final race of the 2017 series,
16   and in an October 2017 press release.
17           75.   Subaru continued to make representations to Red Bull GRC through late
18   January of 2018 that it would participate in the 2018 series, and that it would run three
19   cars in the series.
20           76.   In reliance on Subaru’s firm commitments to participate in the 2018 series,
21   Red Bull GRC undertook at least the following to its detriment:
22                 a. announcing the 2018 racing and broadcast schedule;
23                 b. making commitments to racing venues that races would take place at
24                    those venues;
25                 c. making a multimillion dollar commitment to a TV production company
26                    related to broadcasting the series;
27                 d. making commitments to NBC for approximately 17 hours of broadcast
28                    time;
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                                             COMPLAINT
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 1                 e. signing a long term agreement with Turner Sports to bring 50+ hours of
 2                    live content to a global audience on their forthcoming digital platform;
 3                 f. signing a Red Bull sponsorship renewal for the 2018 season;
 4                 g. signing and announcing a new single seat racing class in partnership
 5                    with Polaris;
 6                 h. signing and announcing a new tire sponsor, Continental Tires; and
 7                 i. signing and announcing a new lubricant sponsor, Total Lubricants.
 8           77.   Were it not for Subaru’s firm commitments to participate in 2018, Red
 9   Bull GRC would not have acted as it did with regards to these commitments.
10           78.   Red Bull GRC’s reliance was reasonable not only in light of Subaru’s
11   stated commitments, but in light of Subaru’s past dealings with Red Bull GRC and
12   consistent participation in the Red Bull GRC Series over multiple years.
13           79.   Based on Red Bull GRC’s communications with Subaru, as well as its past
14   business dealings with Subaru, Subaru either understood or should have understood and
15   been aware, that Red Bull GRC would be taking these actions in reliance on its
16   commitment.
17           80.   Red Bull GRC has been damaged in an amount to be proven at trial, but in
18   a total amount that exceeds $75.000, based on its detrimental reliance on Subaru’s
19   promise to participate in the 2018 Red Bull GRC series.
20

21                                    COUNT III: FRAUD
22           81.   Red Bull GRC re-alleges and incorporates herein by reference each and
23   every allegation and statement contained in paragraphs 1 through 65 inclusive
24           82.   Subaru represented to Red Bull GRC that it would participate in the Red
25   Bull GRC 2018 series and run three cars in the 2018 series.
26           83.   As alleged, Subaru made these representations starting in October of 2017
27   and through January of 2018, by and through, among others, its representative Rob
28   Weir.
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                                            COMPLAINT
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 1         84.       Among other locations and times, Subaru made these representations in
 2   Los Angeles, California in October 2017 shortly after the final race of the 2017 series,
 3   and in an October 2017 press release.
 4         85.       Subaru continued to make representations to Red Bull GRC through late
 5   January of 2018 that it would participate in the 2018 Red Bull GRC racing series, and
 6   that it would run three cars in the series.
 7         86.       Upon information and belief, at the same time that Subaru was making this
 8   representation to Red Bull GRC, it was organizing a different race series with Co-
 9   conspirator Co., with the express intention to abandon the Red Bull GRC 2018 series.
10         87.       Subaru’s representation to Red Bull GRC regarding its participation in the
11   2018 series was thus intentionally false or misleading.
12         88.       Subaru knew or should have known that Red Bull GRC would rely on its
13   misrepresentation regarding its participation.
14         89.       Red Bull GRC did in fact rely on Subaru’s misrepresentation by, among
15   other things:
16                   a. announcing the 2018 racing and broadcast schedule;
17                   b. making commitments to racing venues that races would take place at
18                      those venues;
19                   c. making a multimillion dollar commitment to a TV production company
20                      related to broadcasting the series;
21                   d. making commitments to NBC for approximately 17 hours of broadcast
22                      time;
23                   e. signing a long term agreement with Turner Sports to bring 50+ hours of
24                      live content to a global audience on their forthcoming digital platform;
25                   f. signing a Red Bull renewal for the 2018 season;
26                   g. signing and announcing a new single seat racing class in partnership
27                      with Polaris;
28                   h. signing and announcing a new tire sponsor, Continental Tires; and
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 1                i. signing and announcing a new lubricant sponsor, Total Lubricants.
 2

 3         90.    Red Bull GRC would not have undertaken these commitments in the
 4   manner that it did had it known Subaru did not intend to participate in the 2018 series.
 5         91.    Subaru’s representation that it would participate and run three cars was
 6   material to Red Bull GRC’s determination to enter into future commitments, and what
 7   those commitments would look like, because, among other things, Subaru had been one
 8   of the more popular participants in the series and its increased participation was
 9   anticipated to bring additional revenue to Red Bull GRC in connection with the series.
10         92.    Red Bull GRC has thus been damaged in an amount to be proven at trial
11   by Subaru’s misrepresentations, but in a total amount that exceeds $75.000.
12

13                       COUNT IV: TORTIOUS INTERFERENCE
14         93.    Red Bull GRC re-alleges and incorporates herein by reference each and
15   every allegation and statement contained in paragraphs 1 through 65 inclusive.
16         94.    Upon information and belief, Subaru intentionally interfered with and
17   disrupted the business and contractual relationship between Volkswagen Group of
18   America and Red Bull GRC.
19         95.    Upon information and belief, Subaru knew that Volkswagen Group of
20   America was a longstanding participant in the Red Bull GRC series over multiple years
21   and that Volkswagen Group of America intended to continue to participate in the 2018
22   series and had made binding commitments to Red Bull GRC to do so.
23         96.    Subaru’s team raced against Volkswagen Group of America’s team over
24   multiple years and multiple races in connection with the Red Bull GRC series.
25         97.    Upon information and belief, Subaru knew that Volkswagen Group of
26   America’s abandonment of the Red Bull GRC 2018 series would result in harm to Red
27   Bull GRC and loss of revenue and income associated with Volkswagen Group of
28   America’s participation.
                                               -13-
                                            COMPLAINT
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 1         98.    Nevertheless and in knowing disregard of these facts, upon information
 2   and belief, Subaru organized a meeting in Detroit in January 2018 between Volkswagen
 3   Group of America, Co-conspirator Co. and Subaru GRC independent race teams
 4   (among others) for the express purpose of organizing a different racing series held by
 5   Co-conspirator Co. and to induce Volkswagen Group of America to abandon the Red
 6   Bull GRC series in 2018.
 7         99.    Volkswagen Group of America has in fact indicated that it will not be
 8   participating in the 2018 Red Bull GRC series.
 9         100. Subaru’s conduct has caused an existential threat to the 2018 series and
10   substantial loss of value to the series and its investors.
11         101. Subaru’s conduct is independently unlawful for, among other reasons and
12   as alleged herein, it constitutes a violation of the oral contract between the parties and
13   was independently fraudulent and deceptive.
14         102. Red Bull GRC has thus been damaged in an amount to be proven at trial,
15   but in a total amount that exceeds $75.000, by not only the loss of the income that it
16   would have otherwise received from Volkswagen Group of America in exchange for its
17   participation in 2018, but in other reduced benefits and revenue caused by the loss of
18   participants in the 2018 series.
19

20                                      PRAYER FOR RELIEF
21         WHEREFORE, Plaintiff prays for judgment against Defendant, and each of
22   them, as follows:
23

24                         AS TO COUNT I (Breach of Oral Contract)
25         a.     For actual damages, including consequential damages, in an amount
26                according to proof at trial;
27         b.     For pre and post judgment interest and costs of suit incurred herein; and
28         c.     For such other and further relief as is just and appropriate.
                                                 -14-
                                              COMPLAINT
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 1

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 3                       AS TO COUNT II (Promissory Estoppel)
 4        a.    For reliance damages in an amount according to proof at trial;
 5        b.    For pre and post judgment interest and costs of suit incurred herein; and
 6        c.    For such other and further relief as is just and appropriate.
 7

 8                               AS TO COUNT III (Fraud)
 9        a.    For actual damages in an amount according to proof at trial;
10        b.    For exemplary and punitive damages;
11        c.    For pre and post judgment interest and costs of suit incurred herein; and
12        d.    For such other and further relief as is just and appropriate.
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15                      AS TO COUNT IV (Tortious Interference)
16        a.    For actual damages in an amount according to proof at trial;
17        b.    For exemplary and punitive damages;
18        c.    For pre and post judgment interest and costs of suit incurred herein; and
19        d.    For such other and further relief as is just and appropriate.
20

21   Dated: March 14, 2018                 EAGAN AVENATTI, LLP
22

23                                         By:    /s/ Michael J. Avenatti
                                                 MICHAEL J. AVENATTI
24                                               Attorneys for Plaintiff
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                                          COMPLAINT
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 3                             DEMAND FOR TRIAL BY JURY
 4        Plaintiff demands a trial by jury on all causes so triable.
 5

 6   Dated: March 14, 2018                  EAGAN AVENATTI, LLP
 7

 8                                          By:    /s/ Michael J. Avenatti
 9                                                MICHAEL J. AVENATTI
                                                  Attorneys for Plaintiff
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